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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re: : Chapter 11
COLDWATER CREEK INC., et al.,' Case No. 14-10867 (BLS)
Debtors. : (Jointly Administered)
Docket Ref. No. 841
x

 

ORDER EXTENDING THE EXCLUSIVE PERIODS FOR THE FILING OF
A CHAPTER 11 PLAN AND SOLICITATION OF ACCEPTANCES THERETO
PURSUANT TO SECTION 1121(D) OF THE BANKRUPTCY CODE

Upon the motion (the “Motion”)” of Coldwater Creek Inc., on behalf of itself and
its affiliated debtors and debtors in possession in the above-captioned cases (collectively, the
“Debtors”), for entry of an order (this “Order”) extending the initial exclusive periods for the
Debtors to file and solicit acceptances of a chapter 11 plan by an additional 90 days; and it
appearing that this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and
1334; and it appearing that venue of these chapter 11 cases and the Motion in this District is proper
pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this matter is a core proceeding
pursuant to 28 U.S.C. § 157(b); and this Court having determined that the relief requested in the
Motion is in the best interests of the Debtors, their estates, their creditors and other

parties-in-interest; and it appearing that proper and adequate notice of the Motion has been given

 

The Debtors in these proceedings (including the last four digits of their respective taxpayer identification
numbers) are: Coldwater Creek Inc. (9266), Coldwater Creek U.S. Inc. (8831), Aspenwood Advertising, Inc.
(7427), Coldwater Creek The Spa Inc. (7592), CWC Rewards Inc. (5382), Coldwater Creek Merchandising &
Logistics Inc. (3904) and Coldwater Creek Sourcing Inc. (8530). Debtor CWC Sourcing LLC has the
following Idaho organizational identification number: W38677. The Debtors’ corporate headquarters is
located at One Coldwater Creek Drive, Sandpoint, Idaho 83864.

01:15875535.1 Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.

 
 

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and that no other or further notice is necessary; and after due deliberation thereon; and good and

sufficient cause appearing therefor;

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED to the extent set forth herein.

2. Pursuant to section 1121(d) of the Bankruptcy Code, the Debtor’s exclusive
periods for the filing of a chapter 11 plan and solicitation of acceptances thereto is hereby extended
through November 10, 2014 and January 6, 2015, respectively, provided however, that after
September 1, 2014, the Debtors and the Committee shall each have the right to propose and solicit
acceptances of a chapter 11 plan.

3. This Order is without prejudice to the right of the Debtors to seek further
extensions of exclusivity periods pursuant to section 1121(d) of the Bankruptcy Code.

4. This Court shall retain jurisdiction over the parties for the purpose of

enforcing the terms and provisions of this Order.

Dated: Wilmington, Delaware

September OK , 2014

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CHIEF UNITED STATES BANKRUPTCY
JUDGE

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